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                                                       U.S. District Court, District of Minnesota

                                                                             Information Sheet #7

                                   Prisoner Appeals
The Court has four different guides concerning prisoner litigation, one for each of the
following: civil rights (Section 1983/Bivens); Section 2254 habeas petition for persons in
state custody; Section 2255 motion to vacate, set aside or correct sentence for persons in
federal custody; and Section 2241 habeas petition for persons in federal custody and
state pre-trial detainees. For more information on your specific type of case, please
consult the applicable guide. You may obtain a copy of the guides by contacting the
Clerk’s Office using the contact information provided at the end of this document.

When can I file an appeal in a prisoner case?

Generally, you may file an appeal after you have obtained the final judgment in your
case. Federal Rule of Appellate Procedure 4(a) governs when a notice of appeal in a
civil case must be filed. Notices of appeal must be filed with the district court within 30
days of when the judgment or order appealed from is entered. See Rule 4(a)(1)(A),
Rules of Appellate Procedure. When the United States or its officer or agency is a party,
such as in a 2255 motion, the notice of appeal may be filed within 60 days after the
judgment or order appealed from is entered. See Rule 4(a)(1)(B), Rules of Appellate
Procedure.

There is an exception to this rule, however, if your case concerns a habeas corpus
petition under 28 U.S.C. §§ 2254 or 2255. To file an appeal in a habeas corpus action,
you must first receive: (1) a final order that is adverse to you; and (2) a certificate of
appealability from the district judge in the final order of your case. See Rule 11, Rules
Governing § 2254 Cases and Rule 11, Rules Governing § 2255 Proceedings. If the
district court denies the certificate, you must seek a certificate of appealability from the
Court of Appeals under Federal Rule of Appellate Procedure 22 when filing your
appeal.

What do I need to do to file an appeal?

   1. File a Notice of Appeal with the district court; and
   2. Pay the $605.00 filing fee OR request to waive the filing fee by submitting a
      completed “Prisoner Affidavit Accompanying Motion for Permission To
      Appeal” In Forma Pauperis.”

       § § 2241 and 2254 Cases: If you were granted IFP status by the district court
       in your habeas case, you do not need to submit another IFP application with
       your notice of appeal.
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      § 2255 Cases: If you were represented by appointed counsel at the end of your
      criminal case, you do not need to submit an IFP application on appeal because
      the filing fee for your appeal will automatically be waived, unless the judge
      specifically rules otherwise.

      Prisoner Civil Rights Cases: You must submit another IFP application with your
      notice of appeal because the Court must determine the initial partial filing fee
      and subsequent installment payments required under the Prison Litigation
      Reform Act. See 28 U.S.C. ' 1915(b).

You may contact the Clerk’s Office to obtain a Notice of Appeal form. For information
on filing a notice of appeal, review Rules 3 and 4 of the Federal Rules of Appellate
Procedure.

If the district court denies your IFP application on appeal, you may appeal this
determination to the Eighth Circuit Court of Appeals by filing a Motion and Affidavit
for Permission to Appeal in Forma Pauperis. You may obtain a copy of this form by
contacting the Clerk of Court for the Eighth Circuit Court of Appeals at the following
address and phone number:

                    Eighth Circuit Court of Appeals Clerk’s Office
                           Thomas F. Eagleton Courthouse
                                     Room 24.329
                                111 South 10th Street
                                 St. Louis, MO 63102

                                Phone: (314) 244-2400

How do I contact the District Court Clerk’s Office?

           United States District Court, District of Minnesota Clerk’s Office
                                   U.S. Courthouse
                          300 South Fourth Street, Suite 202
                                Minneapolis, MN 55415

                                Phone: (612) 664-5000
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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

                                                                     CERTIFICATE OF
                                            Plaintiff(s),            SERVICE FOR
                                                                     SERVICE BY MAIL

vs.                                                                  Case No.




                                            Defendant(s).
(Enter the full name(s) of ALL plaintiffs
and defendants in this lawsuit. Please
attach additional pages, if necessary.)


I hereby certify that on _____________ (mm/dd/yyyy), I caused the following
documents: [List the documents you are going to file and serve.]




[Check the box, below, that applies to how you served the above documents.]

        to be filed electronically with the Clerk of Court through ECF and/or

        that I caused a copy of the foregoing documents (and the notice of electronic
        filing, if filed electronically) to be mailed by first class mail, postage paid, to the
        following: [List names and addresses of those served by U.S. Mail.]
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Date:                                     s/
                                          __________________________________
                                          Signature of filing party

                                          __________________________________
                                          Filer’s Typed Name
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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA


                            Plaintiff(s),

vs.                                                             Case No.




                         Defendant(s).




                                      NOTICE OF APPEAL

Pursuant to Fed. R. App. P. 3(c)(1) and 4(a), notice is hereby given that the following parties

(provide the names of all parties who are filing an appeal):




in the above-named case appeal to the United States Court of Appeals for the Eighth Circuit.

The above-named parties appeal from the                                         (indicate whether the

appeal is from a judgment or an order of the District Court) of the U.S. District Court for the

District of Minnesota that was entered on                              (date judgment or order was

entered) that:
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(If the appeal is from an order, provide brief explanation, below, of the District Court’s decision

in the order. If you are appealing only a portion of the judgment or order, indicate below which

part of the judgment or order you are appealing).




Signed this            day of


                       Signature of Party     _________________________________________

                       Mailing Address




                       Telephone Number



Note: All parties filing the appeal must date and sign the Notice of Appeal and provide his/her
mailing address and telephone number, EXCEPT that a signer of a pro se notice of appeal may
sign for his/her spouse and minor children if they are parties to the case. Fed. R. App. P. 3(c)(2).
Attach additional sheets of paper as necessary.
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                                   Motion and Affidavit for Permission
                                     to Appeal In Forma Pauperis



                                                                    Appeal No. __________________
 v.                                                                 District Court or Agency No. _________________




 Affidavit in Support of Motion                                     Instructions

 I swear or affirm under penalty of perjury that, because of        Complete all questions in this application and then sign it. Do
 my poverty, I cannot prepay the docket fees of my appeal           not leave any blanks: if the answer to a question is “0,”
 or post a bond for them. I believe I am entitled to redress.       “none,” or “not applicable (N/A),” write in that response. If
 I swear or affirm under penalty of perjury under United            you need more space to answer a question or to explain your
 States laws that my answers on this form are true and              answer, attach a separate sheet of paper identified with your
 correct. (28 U.S.C. § 1746; 18 U.S.C. § 1621.)                     name, your case’s docket number, and the question number.

   Signed: _______________________________________                  Date:    _______________________________________


My issues on appeal are:



1. For both you and your spouse estimate the average amount of money received from each of the following sources during the
past 12 months. Adjust any amount that was received weekly, biweekly, quarterly, semiannually, or annually to show the monthly
rate. Use gross amounts, that is, amounts before any deductions for taxes or otherwise.
Income source                          Average monthly amount during          Amount expected next month
                                       the past 12 months


                             You                Spouse                       You                Spouse

Employment                   $                  $                            $                  $

Self-employment              $                  $                            $                  $

Income from real property
(such as rental income)      $                  $                            $                  $

Interest and dividends       $                  $                            $                  $

Gifts                        $                  $                            $                  $

Alimony                      $                  $                            $                  $




                                                              1
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Child support                 $                  $                          $                   $

Retirement (such as social security, pensions,
annuities, insurance         $                   $                          $                   $

Disability (such as social security,
insurance payments)           $                  $                          $                   $
Unemployment payments         $                  $                          $                   $

Public-assistance (such as
welfare)                      $                  $                          $                   $

Other (specify):___________
                              $                  $                          $                   $

     Total monthly income:$                      $                          $                   $


 2. List your employment history, most recent employer first. (Gross monthly pay is before taxes or other deductions.)
           Employer                            Address                     Dates of employment              Gross monthly pay

   ______________________              _________________________         ____________________            ____________________

   ______________________              _________________________         ____________________            ____________________

   ______________________              _________________________         ____________________            ____________________

 3. List your spouse’s employment history, most recent employer first. (Gross monthly pay is before taxes or other deductions.)
           Employer                           Address                      Dates of employment              Gross monthly pay

   ______________________              _________________________         ____________________            ____________________

   ______________________              _________________________         ____________________            ____________________

   ______________________              _________________________         ____________________            ____________________


      4. How much cash do you and your spouse have? $__________
      Below, state any money you or your spouse have in bank accounts or in any other financial institution.
         Financial institution           Type of account            Amount you have                    Amount your spouse has
      ___________________         _______________________           $_______                             $_______
      ___________________         _______________________           $_______                             $_______
      ___________________         _______________________           $_______                             $_______
      If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all
      receipts, expenditures, and balances during the last six months in your institutional accounts. If you have multiple
      accounts, perhaps because you have been in multiple institutions, attach one certified statement of each account.


      5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary household furnishings.




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 Home                      (Value)               Other real estate          (Value)           Motor vehicle #1          (Value)

 _____________________________                            _____________________________       Make & year:_____________________

 _____________________________                            _____________________________       Model:       ____________________

 _____________________________                       _____________________________            Registration #: ____________________
 Motor vehicle #2       (Value)                  Other assets            (Value)              Other assets          (Value)

 Make & year:         _________________                   _____________________________       _____________________________

 Model:               _________________                   _____________________________       _____________________________

 Registration #:      _________________                   _____________________________       _____________________________


 6. State every person, business, or organization owing you or your spouse money, and the amount owed.
 Person owing you or your spouse                       Amount owed to you                    Amount owed to your spouse
 money
      _____________________________                _____________________________             _____________________________

        _____________________________                     _____________________________            _____________________________

        _____________________________                     _____________________________            _____________________________


 7. State the persons who rely on you or your spouse for support.
                      Name                                        Relationship                               Age
 __________________________________                     ________________________________                ________________

 __________________________________                           ________________________________          ________________

 __________________________________                           ________________________________          ________________


8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your spouse.
Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the monthly rate.

                                                               You                        Your Spouse

Rent or home-mortgage payment (include lot rented
for mobile home)                                               $                          $

       Are real-estate taxes included? 9 Yes        9 No
       Is property insurance included?9 Yes         9 No

Utilities (electricity, heating fuel, water, sewer, and
 telephone)                                                    $                          $

Home maintenance (repairs and upkeep)                          $                          $

Food                                                           $                          $

Clothing                                                       $                          $




                                                              3
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Laundry and dry-cleaning                                  $                          $

Medical and dental expenses                               $                          $

Transportation (not including motor vehicle payments)     $                          $

Recreation, entertainment, newspapers, magazines, etc.    $                          $

Insurance (not deducted from wages or included in
 Mortgage payments)                                       $                          $

         Homeowner’s or renter’s                          $                          $

         Life                                             $                          $

         Health                                           $                          $

         Motor Vehicle                                    $                          $

          Other: ___________________                      $                          $

Taxes (not deducted from wages or included in
Mortgage payments) (specify): ____________________        $                          $

Installment payments

     Motor Vehicle                                        $                          $

         Credit card (name):                              $                          $

         Department Store (name):                         $                          $

         Other:                                           $                          $

Alimony, maintenance, and support paid to others          $                          $

Regular expenses for operation of business, profession,
or farm (attach detailed statement)                       $                          $

Other (specify): _________________________________ $                                 $

         Total monthly expenses:                          $                          $

 9. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the next 12
 months?
 9 Yes 9 No                          If yes, describe on an attached sheet.




                                                          4
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10. Have you paid — or will you be paying — an attorney any money for services in connection with this case, including the
completion of this form?    9Yes     9 No

If yes, how much? $__________

If yes, state the attorney's name, address, and telephone number:

_________________________________________________________________________

_________________________________________________________________________

_________________________________________________________________________

11. Have you paid — or will you be paying — anyone other than an attorney (such as a paralegal or a typist) any money for
services in connection with this case, including the completion of this form?
9Yes      9 No

If yes, how much? $__________

If yes, state the person’s name, address, and telephone number:

_________________________________________________________________________

_________________________________________________________________________

_________________________________________________________________________

12. Provide any other information that will help explain why you cannot pay the docket fees for your appeal.




13. State the address of your legal residence.

____________________________________________________________

____________________________________________________________

Your daytime phone number: (____) ____________________

Your age: __________         Your years of schooling: __________

Your social-security number: _________________________




                                                         5
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The following Certificate of Authorized Prison Official must be completed and filed with a prisoner’s Application
to Proceed without Prepayment of Fees and Affidavit for all incarcerated applicants. See 28 U.S.C. § 1915(a)(2)
(a prisoner who applies to proceed without prepayment of fees must provide a certified copy of the trust fund
account statement “obtained from the appropriate official of each prison at which the prisoner is or was confined”).
The information provided below will be used by the Court in determining the proper initial partial filing fee as
defined under 28 U.S.C. § 1915(b).



                          CERTIFICATE of AUTHORIZED PRISON OFFICIAL


I, ___________________________________, certify that the incarcerated applicant

________________________________ (name of applicant) has the sum of $________________ on account to

his/her credit at_________________________________________(name of institution) . I further certify that the

applicant       named       herein     has     the     following       securities       to    his/her     credit:

_________________________________________________________________________________________

_________________________________________________________________________________________.



I further certify that in the 6-month period immediately preceding the filing of the complaint/petition/motion or

notice of appeal, the average monthly deposits to the applicant’s trust fund prison account was

$____________________,         and   the   average    monthly     balance    in   the   prisoner’s   account   was

$_____________________.




_________________________         ______________________________________________________________
         DATE                                 SIGNATURE OF AUTHORIZED OFFICIAL




                                                         6
